      Case 2:19-cv-13425-WBV-JCW Document 39 Filed 12/12/19 Page 1 of 11



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


 JOHN DOE,                                            *   ACTION NO.: 2:19-CV-13425-
                                                      *   WBV-JCW
                Plaintiff                             *
                                                      *   SECTION: “D” DISTRICT
 v.                                                   *   JUDGE VITTER
                                                      *
 THE ADMINISTRATORS OF THE TULANE                     *   MAGISTRATE: JUDGE
 EDUCATIONAL FUND,                                    *   WILKINSON
                                                      *
                Defendants                            *
                                                      *
 *      *       *       *      *       *      *       *

         PLAINTIFF’S MEMORANDUM IN OPPOSITION TO DEFENDANT’S
            APPEAL OF MAGISTRATE JUDGE’S DISCOVERY ORDER
       Plaintiff John Doe, through undersigned counsel, respectfully files this Memorandum in

opposition to Defendant, The Administrators of the Tulane Educational Fund’s (“Defendant” or

“Tulane”) Appeal of Magistrate Judge Wilkinson’s Ruling issued November 22, 2019. (Rec. Doc.

25). A full two weeks after Magistrate Judge Wilkinson’s order issued, and on the eve of the

deposition at issue, Tulane filed an appeal that raises issues and arguments it never presented to

Magistrate Judge Wilkinson. Judge Wilkinson issued a thorough and well-reasoned opinion

denying Defendant’s motion in full and Defendant’s request for this Court to reverse that Order

wholly fails to meet the clear error standard – a requirement for this Court to reverse Judge

Wilkinson’s ruling. Defendant has not met its burden to disturb Judge Wilkinson’s well-reasoned

ruling regarding the deposition of Jane Roe. Plaintiff therefore respectfully requests that Judge

Wilkinson’s ruling be affirmed.

I.     BACKGROUND
       On November 14, 2019, Defendant filed objections to Plaintiff’s proposed depositions,

including objecting to the scope of Jane Roe’s deposition, the depositions of non-party student

witnesses, and Plaintiff’s request to take eleven, rather than ten, depositions. (Rec. Doc. 22.)

Specifically, Defendant sought to limit Jane Roe’s deposition to three areas of questioning:


                                                  1
     Case 2:19-cv-13425-WBV-JCW Document 39 Filed 12/12/19 Page 2 of 11




       (i) How the defendant went about investigating the events of the alleged incident;

       (ii) What information defendant ultimately possessed during the investigation; and

       (iii) How the defendant acted on that information in the disciplinary proceeding

       against the plaintiff. (Rec. Doc. 22 at 7.)

       Plaintiff opposed those objections (Rec. Doc. 24), and on November 22, 2019, Magistrate

Judge Wilkinson denied Defendant’s requests in full—allowing Plaintiff to freely depose Jane

Roe, to depose non-party student witnesses, and to take eleven depositions. (Rec. Doc. 25 at 8.)

Without establishing any clear error on the part of the Magistrate Judge, Tulane now reiterates its
original objections relying on the same case law Magistrate Judge Wilkinson found unpersuasive,

and adds objections it never presented to Judge Wilkinson in the first instance.

       The Magistrate Judge based his Order on two fundamental principles: (1) “applying the

[non-binding and unpersuasive] Florida decision [on which Tulane relied] to the circumstances

presented by the instant case would shrink permissible discovery to a level far below what is

permitted by Rule 26(b)(1) and contemplated by a recent decision of the Fifth Circuit describing

the essential elements of plaintiff’s claims as to which plaintiff has the burden of proof”; and (2)

“adopting the pre-deposition screening approach undertaken by the Florida court, even in the less

comprehensive way proposed by defendant, would undermine both the fundamental purpose of

discovery and the structure of Fed. R. Civ. P. 30(c)(2), which governs the manner in which

depositions are to be conducted.” (Rec. No. 25 at 6, 8.)

       Tulane’s proposed limitations on the deposition of Jane Roe would hamstring Plaintiff

from discovering information directly relevant to his central claims: that Defendant conducted an

investigation that significantly departed from the fair and neutral process guaranteed by both Title

IX and Tulane’s own Code, and that a fair and neutral investigation would have reached a different

outcome. As this Court knows, “relevant evidence” is broadly defined to include evidence having

any tendency to make the existence of any fact that is of consequence to the determination of the

action more probable or less probable than it would be without the evidence. See Fed. R. Evid.

401. And a discovery request is relevant if it seeks admissible evidence or is reasonably calculated


                                                 2
      Case 2:19-cv-13425-WBV-JCW Document 39 Filed 12/12/19 Page 3 of 11




to lead to the discovery of admissible evidence.        Judge Wilkinson’s Order was not clearly

erroneous in recognizing that Defendant’s proposed limitations on the deposition of Jane Roe

would eviscerate these definitions.

       Plaintiff’s suit against Tulane primarily alleges two causes of action: (1) that Tulane

breached its contract with Plaintiff by failing to conduct a fair and reliable gathering of the facts

by a trained and impartial investigator who would correctly and impartially apply the

preponderance of the evidence standard; and (2) that in its investigation, Tulane reached an

erroneous outcome pursuant to Title IX, which was motivated by gender bias. The common thread
in Plaintiff’s main two legal theories is that Tulane erred in its investigation, and that an unbiased,

thorough, and fair investigation would have reached a different conclusion.

       It is hard to imagine evidence that would be more relevant to Plaintiff’s claims that Tulane

did not engage in a fair and impartial investigation, and reached an erroneous outcome in its

investigation, than testimony from the complainant, Jane Roe, about her personal knowledge of

the underlying facts that Tulane “investigated.” Deposing Jane Roe, whose statements were

presented to Plaintiff only through the lens of Tulane’s Title IX investigator, would certainly have

the tendency to make the existence of whether Tulane conducted a fair and impartial investigation

more or less probable.

       Defendant now seeks to disturb Judge Wilkson’s ruling and sustain its objections regarding

limiting Jane Roe’s deposition. Further, it raises objections and arguments it never raised with

Judge Wilkinson. Despite these procedural deficiencies, however, Defendant again fails to sustain

its heavy burden under Fifth Circuit case law of showing good cause to support the issuance of a

protective order. Judge Wilkinson’s Order should be upheld.

II.    STANDARD OF REVIEW

       A Magistrate Judge’s ruling will be disturbed only when the ruling is “clearly erroneous or

is contrary to law.” See Fed. R. Civ. P. 72(a); see also Castillo v. Frank, 70 F.3d 382, 385 (5th Cir.

1995). A finding is “clearly erroneous” when the reviewing court is “left with the definite and

firm conviction that a mistake has been committed.” United States v. Stevens, 487 F.3d 232, 240


                                                  3
       Case 2:19-cv-13425-WBV-JCW Document 39 Filed 12/12/19 Page 4 of 11




(5th Cir. 2008) (quoting United States. v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948)). No such

clearly erroneous mistake has been committed here. Defendant’s appeal is simply a retread of case

law that Magistrate Judge Wilkinson found inapplicable or unpersuasive, and Defendant points to

nothing in his ruling that is “clearly erroneous or contrary to case law.”

III.    DEFENDANT’S APPEAL IS PROCEDURALLY IMPROPER

        As an initial matter, Defendant raises issues in its appeal that were never raised in its

objections or arguments to Judge Wilkinson and thus never addressed in Magistrate Judge

Wilkinson’s Order. For instance, Defendant begins its appeal by seeking to exclude from Jane
Roe’s deposition any questioning related to “[n]on-party Jane Roe’s sexual history.” (Rec. Doc.

32-1 at 2.) This request is a blatant attempt to mislead the Court about Plaintiff’s intentions;

Plaintiff has never expressed an intention to question Jane Roe about her sexual history, nor does

Defendant point to anything, anywhere in its appeal, that would suggest Plaintiff or his counsel

has done so. More importantly, this limitation was never raised in Defendant’s objections or in its

briefing to Magistrate Judge Wilkinson. Defendant has therefore waived any such objection and

it is not properly the subject of an appeal to this Court. See, e.g., Cupit v. Whitley, 28 F.3d 532,

535 n.5 (5th Cir. 1994) (collecting cases holding that under the federal Magistrate Judge Act the

parties are not permitted “to raise at the district court stage new evidence, argument, and issues

that were not presented to the Magistrate Judge—'absent compelling reasons’”).

        Similarly, Defendant now raises an objection to Plaintiff questioning Jane Roe about

complaints that were filed against her by John Doe. (Id.) Defendant did not raise this issue in its

objections or arguments to Magistrate Judge Wilkinson, and thus the Magistrate Judge did not

address it in his order. This too is waived. Defendant’s attempt to package these new objections

as an “appeal” is improper and should be raised, if at all, with Magistrate Judge Wilkinson in the

first instance.

IV.     DEFENDANT FAILS TO MEET THE CLEAR ERROR STANDARD

        Aside from the fact that Tulane has waived its arguments it now raises with this Court,

Judge Wilkinson’s discovery rulings may be disturbed only upon a finding of clear error.


                                                  4
      Case 2:19-cv-13425-WBV-JCW Document 39 Filed 12/12/19 Page 5 of 11




Defendant has failed to meet that heavy burden. The scope of discovery is broad and permits

the discovery of “any nonprivileged matter that is relevant to any party’s claim or defense.” Fed.

R. Civ. P. 26(b)(1); see Wyatt v. Kaplan, 686 F.2d 276, 283 (5th Cir.1982). Magistrate Judge

Wilkinson ruled that “defendant’s request to restrict and/or prohibit the deposition testimony in

this case, particularly of the complainant . . . would preclude discovery of facts” necessary to prove

Plaintiff’s claims. (Rec. Doc. 25 at 8.) Indeed, a plaintiff bringing a Title IX erroneous outcome

challenge must plead two elements: (1) facts sufficient to cast doubt on the accuracy of the

proceeding and (2) a causal connection between the flawed outcome and gender bias. Klocke v.
Univ. of Tex., 938 F.3d 204, 210 (5th Cir. 2019). Plaintiff must prove both elements, and he seeks

to depose Jane Roe about her recollection of the underlying facts as well as the investigation and

appeal because her testimony about these things is directly relevant to the accuracy of the

proceeding—the proceeding being Tulane’s own investigation.

        Plaintiff’s breach of contract claim, like his Title IX claim, alleges that Tulane did not

conduct a neutral and fair investigation. Among other things, Tulane’s Code promises a fair and

reliable gathering of the facts by a trained and impartial investigator who would correctly and

impartially apply the preponderance of the evidence standard. Tulane Code of Student Conduct,

Sec. VI., Sec. VI.A. It is Tulane’s flawed procedure and whether it amounted to a fair and neutral

investigation that is at issue in this case.

        Defendant boldly requests that Jane Roe not be questioned about “her recollection of the

alleged sexual assault on February 14, 2019 or related events before or after this incident”; about

the “veracity of any statements” by other individuals regarding the alleged sexual assault; or about

the complaints submitted by John Doe against Jane Roe because they are “separate non-Title IX

conduct matters.”      Id.   Defendant characterizes such topic areas as “after-the-fact cross-

examination of non-party Jane Roe that exceeds the permitted scope of the completed Tulane

investigation and appeal . . . at issue in this lawsuit.” Id. To the contrary, each of these areas of

questioning falls squarely within the score of permissible discovery. John Doe’s pleadings detail

the multiple and striking inconsistencies and untruths in Jane Roe’s statements—not to prove his


                                                  5
     Case 2:19-cv-13425-WBV-JCW Document 39 Filed 12/12/19 Page 6 of 11




innocence or re-litigate the underlying case, but to prove what any reasonably competent, neutral,

or fair investigation would have amounted to and discovered. Specifically, Doe points to

inconsistencies about Jane Roe’s self-reported level of intoxication; her changing accounts of the

type of sexual contact to which she did and did not consent; her inconsistent accounts of what she

remembered and when she remembered it; and her demonstrable untruths regarding her prior

relationship with John Doe. Questions relating to these and other underlying facts will lead to

evidence directly related to John Doe’s claims about the investigation; indeed, exploring these

problematic aspects of Jane Roe’s part in the investigation is necessary to show how utterly
incompetent and biased that investigation was.

       Defendant also objects (for the first time) to Plaintiff’s questioning related to the

complaints John Doe filed against Jane Roe because, according to Defendant’s new objection, they

are “separate non-Title IX conduct matters.” (Rec. Doc. 32-1 at 2.) Tulane’s response to the

complaints John Doe filed against Jane Roe for harassment and violation of the no-contact order,

during the pendency of the investigation, go directly to the second prong necessary in a Title IX

erroneous outcome challenge: that gender bias was a motivating factor in the flawed investigation

because Tulane failed to investigate complaints by Doe but not complaints by Roe. That the

complaints themselves are non-Title IX matters is irrelevant; John Doe alleges that Tulane’s

response, or lack thereof, to his complaints is evidence of the pervasive gender bias that informs

how Tulane handles student complaints in the Title IX context and how it viewed him, in contrast

to how it viewed Jane Roe, during the proceedings. John Doe is entitled to discover what Jane Roe

knows about those complaints and Tulane’s response to them.

       Each area of questioning that Defendant seeks to limit by way of this appeal is directly

relevant to John Doe’s claims, and thus properly within the scope of discovery. Tulane reiterates

its central argument from its objections, which is unsupported by any caselaw, that Plaintiff is

attempting to retry “the underlying case” with this lawsuit and that doing so is impermissible.

Magistrate Judge Wilkinson’s finding that John Doe is entitled to explore the facts he seeks in

discovery in order to prove his claims does not constitute clear error, and Defendant fails to


                                                 6
     Case 2:19-cv-13425-WBV-JCW Document 39 Filed 12/12/19 Page 7 of 11




establish that it does. The scope of discovery allows for “any nonprivileged matter that is relevant

to any party’s claim or defense and proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1).

As Magistrate Judge Wilkinson expressly found, “Defendant’s concern that permitting these

depositions without the restrictions it seeks will impermissibly ‘retry the University’s disciplinary

proceeding’ is misplaced in the discovery context. Discovery depositions are neither trial nor

preliminary injunction hearing.” (Rec. Doc. 25 at 9.) As such, Defendant’s proposed restrictions

“would undermine the fundamental purpose of discovery.” (Rec. Doc. 25 at 8.) Such a finding

is consistent with the Federal Rules and is within the Magistrate Judge’s discretion; there is no
error, clear or otherwise, here.

V.        THE CASE LAW CITED BY DEFENDANT DOES NOT SUPPORT LIMITING
          THE SCOPE OF JANE ROE’S DEPOSITION

          The Magistrate Judge properly ruled that Defendant’s proposed restrictions would

“undermine . . . the fundamental purpose of discovery,” and that such restrictions are inappropriate

in the discovery context. (Rec. Doc. 25 at 8-9.) As it did in its initial objection, Defendant argues

that “allegations in Plaintiff’s pleadings show a potential intent by Plaintiff to submit deposition

inquiries to non-party Jane Roe outside of the relevant scope of discovery.” (Rec. Doc. 32-1 at

13.) Because Plaintiff alleges in his complaint that central issues in the case relate to Jane Roe’s
credibility and the inconsistencies and demonstrable untruths that were accepted by the Tulane
investigator, Defendant believes that Plaintiff attempts by way of this suit to re-litigate the

underlying case; as such, according to Defendant, questioning about the underlying facts would

exceed the relevant scope of discovery for Title IX erroneous outcome and breach of contract

claims.

          Defendant once again erroneously relies on case law that establishes that Title IX cases

come to court in a limited posture, and courts should not second-guess the disciplinary decisions

of universities. Again, Defendant points out that “the Fifth Circuit has also expressly recognized

that ‘[i]t is not the role of the federal courts to set aside decisions of school administrators which



                                                  7
      Case 2:19-cv-13425-WBV-JCW Document 39 Filed 12/12/19 Page 8 of 11




the court may view as lacking in wisdom or compassion.’” (Id. at 8, citing Plummer v. Univ. of

Houston, 860 F.3d 767, 777 (5th Cir. 2017)); see also Ruff v. Bd. of Regents of the Univ. of N.M.,

272 F.Supp.3d 1289, at *23 (D. N.M. 2017); Klocke v. Univ. of Tex., 938 F.3d 204, 210 (5th Cir.

2019); Pierre v. Univ. of Dayton, 143 F.Supp.3d 703, 712-13 (S.D. Ohio 2015).) Plaintiff has

never disputed that contention. As detailed above, Plaintiff’s burden of proof requires him to

establish an erroneous outcome and a breach of Tulane’s contract with Plaintiff through its

woefully inadequate process, and the facts he seeks from his deposition of Jane Roe speak directly

to that point.
        The Magistrate Judge’s order states that Defendant’s proposed limitations would conflict

with the recent decision in Klocke v. Univ. of Texas at Arlington, 938 F.3d 204 (5th Cir. 2019). As

an example of facts that would give rise to articulable doubt on the accuracy of the outcome of the

disciplinary proceeding, the court in that case pointed to “a motive to lie on the part of a

complainant or witness.” Id. at 210. Magistrate Judge Wilkinson found that Tulane’s proposed

restrictions would, among other things, “preclude discovery of facts, if any exist, necessary to

prove a motive to lie on the part of complainant . . . a complainant’s motive to lie as a particular

strength of the disciplined student’s case is relevant.” (Rec. Doc. 25 at 8.) Tulane argues that its

proposed limitations do not conflict with Klocke, but rather are consistent with “the limited role of

federal courts in addressing such claims under this framework.” (Rec. Doc. 32-1 at 9.) Tulane’s

argument is unavailing; its proposed restrictions would expressly preclude discovery of the very

facts in Klocke that the Magistrate Judge found relevant to John Doe’s case—such as a motive for

Jane Roe to have lied about her allegations. (Id.)

        Defendant also leans heavily on an out-of-circuit, unpublished, district court opinion, Doe

v. Lynn, as it did in its initial brief, to support its argument that Jane Roe’s questioning should be

limited. See Doe v. Lynn Univ., Inc., 2017 WL 275448 (S.D. Fla. Jan. 19, 2017). Magistrate Judge

Wilkinson found that the court’s decision in that case “unduly truncates permissible discovery;”

more notably, it does not even support Tulane’s proposed limitations because it is wholly

distinguishable. Defendant argues that Lynn includes “similar claims (Title IX), similar parties


                                                  8
     Case 2:19-cv-13425-WBV-JCW Document 39 Filed 12/12/19 Page 9 of 11




(John Doe, an accused student, versus a university), and a similar discovery request to the

Magistrate regarding the relevant scope of depositions to be conducted by John Doe of a non-party

Mary Roe (the complainant)” and in that case, the court curtailed the scope of questioning of the

complainant. (Rec. Doc. 32-1 at 10.) Defendant once again grounds its argument in the Lynn

court’s finding that “it is necessary to clarify what this case is about, and what it is not,” and

holding that a Title IX erroneous outcome claim is not about factual innocence. Id. Defendant

relies yet again on its assertion that Plaintiff intends, impermissibly, to prove his innocence through

this suit, and therefore questioning Jane Roe about the underlying facts exceeds the scope of proper

discovery in the Title IX context. (Id. at 11.)
       The plaintiff in Lynn, unlike Plaintiff, did seek to prove that he was factually innocent of

sexual assault through his proposed questions of Mary Roe, stating that a “critical issue in this

case” is whether “in truth and in fact” the sexual assault had occurred.1 Lynn, 2017 WL 275448

at *5. Noting that the issue was not whether the plaintiff was factually innocent, the court stated,

“Rather, it is whether Plaintiff is ‘innocent’ in the sense that he was found to have committed that

act following a proceeding that could not support that result.” Id. (emphasis added). Here,

Plaintiff is not attempting to prove his innocence separate and apart from Tulane’s flawed

investigation; the deposition of Jane Roe is directly relevant to the issue of whether a fair and

impartial investigation could possibly have supported the result Tulane came to.

       In Plaintiff’s case, the flawed investigation by Defendant resulted in Plaintiff being found

responsible for a sexual assault he did not commit. That he did not commit it, though, is not what

he seeks to prove; rather, he is suing Defendant under Title IX for erroneous outcome and for

breach of contract, both on the theory that Defendant’s investigation was so flawed that John Doe



1
  The Lynn court also limited the scope of questioning because Mary Roe suffered from epilepsy
and a doctor had concluded that extensive deposition questioning would cause her to have a spike
in seizures—a fact critical to the court’s analysis that Defendant neglects to mention. The court, in
limiting the scope of questioning, balanced the relevance of her testimony “against the threat to
Mary Roe’s health.” Lynn, 2017 WL 275448 at *6. Defendant, on the other hand, has offered no
cause or balancing factors that would militate in favor of limiting the scope of questioning here.


                                                  9
      Case 2:19-cv-13425-WBV-JCW Document 39 Filed 12/12/19 Page 10 of 11




was denied a fair and neutral process. It is the investigation itself that Plaintiff seeks to explore,

and no single witness to the process possesses more information about it, and can shed more light

on the erroneous credibility findings, the assumptions, and the illogical conclusions on which the

investigator relied, than Jane Roe. How Jane Roe described the alleged assault and the events

before and following, how she interacted with the investigator, and the information she did and

did not provide, goes directly to the issue of whether the investigation was conducted in a fair and

neutral manner and whether the investigator’s finding was supported by a preponderance of

evidence. Freely deposing Jane Roe does not amount to a second investigation; it is a probe of the
highly relevant testimony of the person whose credibility was the entire basis for the investigator’s

finding in the underlying case. An unfettered deposition of Jane Roe is the only way for Doe to

determine whether Tulane performed a fair, impartial, and complete investigation, and Tulane

should not be allowed to frustrate that effort by unnecessarily limiting discovery.

        Plaintiff does not intend to re-litigate the underlying case; instead, he seeks to prove that

no competent, fair investigation could have resulted in the outcome that occurred here.

Defendant’s retread of case law that does not advance its position and its repeated assertions that

Plaintiff is attempting to re-litigate the underlying case through his deposition questioning of Jane

Roe are simply red herrings meant to limit Plaintiff from discovering critical and necessary

information for his claims of erroneous outcome under Title IX and breach of contract.

VI.     CONCLUSION

        Because Jane Roe’s testimony is highly relevant to Plaintiff’s claims about the process,

and because Defendant has failed to identify anything clearly erroneous or contrary to law by the

Magistrate Judge, Plaintiff respectfully asks the Court not to disturb Judge Wilkinson’s ruling.




                                                 10
    Case 2:19-cv-13425-WBV-JCW Document 39 Filed 12/12/19 Page 11 of 11



December 12, 2019

                                                   Respectfully Submitted,

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                               CERTIFICATE OF SERVICE

              I hereby certify that a copy of the foregoing pleading has been served upon all

counsel of record by Email this 12th day of December, 2019.


                                                   /s/ Ellie T. Schilling
                                                   Ellie T. Schilling




                                              11
